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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                     NO.     4:15CR00305-02 JLH

XAVIER BRIGHT                                                                     DEFENDANT

                                              ORDER

       Defendant Xavier Bright appeared in person with his attorney, John Wesley Hall, Jr., for a

change of plea hearing on this date. The government was represented by Assistant United States

Attorney Julie Peters. Following acceptance of the guilty plea to Count 1 of the Indictment,

defendant moved for a temporary release from custody to visit his father. The request was granted.

       IT IS THEREFORE ORDERED that the defendant is immediately released from the custody

of the United States Marshal to the custody of his mother, Wilma Bright. The defendant must self-

report back to the Pulaski County Detention Facility by 6:00 p.m., this evening. Failure to self-

report will result in the issuance of an arrest warrant.

       IT IS SO ORDERED this 20th day of April, 2017.



                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
